                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           Docket No. 3:13-CR-00019-FDW

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
                                    )
vs.                                 )                       ORDER
                                    )
 (1) THEODORE FALLS,                )
                                    )
                        Defendant. )
___________________________________ )
CASSANDRA LIGON                     )
                        Petitioner  )
___________________________________ )

       THIS MATTER is before the Court sua sponte following the filing of the Government’s

Motion to Dismiss Third-Party Petition, or in the alternative, for Judgment on the Pleadings on

April 7, 2014 (Doc. No. 132).

       On March 10, 2014, the Government sent Petitioner a Notice of Forfeiture advising her of

the Preliminary Order of Forfeiture for the property located at 1222 Karrendale Avenue,

Charlotte, NC 28208, (Doc. No. 124), and the procedure to file a petition contesting the

forfeiture. (Doc. No. 126). In response, Petitioner mailed a Petition, (Doc. No. 26), to Assistant

United States Attorney William Brafford, who forwarded the Petition to the Clerk’s Office to be

filed on March 24, 2014.

       In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the Court advises

Petitioner, who is proceeding pro se, that she has a right to respond to the Government’s Motion

to Dismiss the Petition for failure to comply with the requirements of 21 U.S.C § 853(n)(3). The

Government alleges that the Petition fails to comply with § 853(n)(3) because Petitioner failed to

sign the Petition under penalty of perjury. Because the Government has consented, the Court




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will grant Petitioner an extension of time to file an amended petition signed under penalty of

perjury with the Court to cure this defect. Accordingly, Petitioner has until Thursday, April

24, 2014, to file an amended petition with the Court. The Court advises Petitioner to file her

amended petition with the Clerk of Court for the United States District Court for the

Western District of North Carolina located at 401 West Trade Street, Charlotte, NC 28202.

The Court further advises Petitioner that failure to timely respond may result in the

Government being granted the relief it seeks, specifically DISMISSAL OF THE

PETITION.

               IT IS THEREFORE ORDERED that Petitioner is GRANTED an extension of

time until Thursday, April 24, 2014, to file an amended petition signed under penalty of perjury

with the Court. The Clerk’s Office is DIRECTED to send a copy of this Order to Petitioner’s

address of record.

       IT IS SO ORDERED.


                                      Signed: April 10, 2014




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